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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

IN RE:                                             )
                                                   )
IN RE NICHOLS BROTHERS,                            )              Case No. 18-11123-M
INC., et al.,1                                     )                  Chapter 11
                                                   )
    Debtors.                                       )              Jointly Administered
                                                   )

                  AMENDED MOTION TO SETTLE AND COMPROMISE
               CLAIMS BY AND AGAINST THE RAILROAD COMMISSION OF
                 TEXAS AND NOTICE OF OPPORTUNITY FOR HEARING

         W.O. Operating Company, Ltd. (“WO” or “Debtor”), by and through counsel, hereby

requests that the Court approve a compromise and settlement with the Railroad Commission of

Texas (“RRC”) and SB Energy I, LLC (“Buyer”) and Large Operating, LLC (“Operator”). As

support therefore, the Debtor will show the Court the following:

                                             Jurisdiction

         1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b).

Reference to the Court of this matter is proper pursuant to 28 U.S.C. § 157(a). This is a core

proceeding as contemplated by 11 U.S.C. § 157(b)(2)(A) and (B).

                                             Background

         2.     On June 1, 2018, the Debtor commenced a voluntary petition under Chapter 11 of

the United States Bankruptcy Code. The Debtor’s case was administratively consolidated under

Case No. 19-11123-M of Nichols Brothers, Inc. Prior to filing, the Debtor was part of a diversified

group focusing primarily on oil and gas operations. The Debtor’s principal assets are located in the




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 The Debtors in these jointly administered cases are: NICHOLS BROTHERS, INC., Case No. 18-11123-TLM; NBI
PROPERTIES, INC., Case No. 18-11124-M; NBI SERVICES, INC., Case No. 18-11125-M; LADDER
COMPANIES, INC., Case No. 18-11126-M; RED WATER RESOURCES, INC., Case No. 18-11127-M; CANO
PETRO OF NEW MEXICO, INC., Case No. 18-11128-M; and W.O. OPERATING COMPANY, LTD., Case No. 18-
11129-M.
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panhandle of Texas and comprise of approximately 73 oil and gas leases with approximately 900

wells located thereon. The Debtor has not operated for some time based, in part, upon severance

orders issued by the RRC.

       3.      Upon filing, the RRC took various actions in the Debtor’s case, including but not

limited to filing a motion to convert the Debtor’s Chapter 11 case to one under Chapter 7, seeking

to transfer the Debtor’s case to the Northern District of Texas, and commencing an adversary action

[Adv. No. 18-1041-M] asserting certain claims and relief against the Debtor. In the adversary

complaint, the RRC is seeking, among other things, to establish claims against the Debtor.

       4.      The Debtor has vigorously defended against the actions of the RRC, including filing

a motion to dismiss the adversary complaint, which is presently pending before the Court. The

adversary case raises novel and difficult issues concerning the claims brought by the RRC against

the Debtor. The Debtor sought the opportunity to sell its oil and gas properties to a third party.

       5.      On October 19, 2018, the Debtor entered into an asset purchase agreement

(“APA”), as amended, with SB Energy 1, LLC (“SB Energy”), which provided for a sale of

substantially all of its assets, including the 73 oil and gas leases and associated wells located

thereon.

       6.      On November 26, 2018, the Bankruptcy Court entered an Order Approving Sale of

Assets Outside of the Ordinary Course of Business, Free and Clear of Liens, Claims, and

Encumbrances, and Approving Entry into and Consummation of Asset Purchase Agreement, all

Pursuant to 11 U.S.C. § 363 [ECF No. 230] (the “Sale Order”). The Sale Order and APA

incorporated the terms of the compromise among the Parties.

       7.      Debtor filed a Motion to Settle or Compromise on November 6, 2018 [ECF No.

216] which would have settled all matters between Debtor and the RRC. No objection has been

interposed to the original Motion to Settle or Compromise [EFC No. 216]. That Motion to Settle
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[EFC No. 216] is now amended and replaced by this Motion, based upon the following changed

circumstances.

       8.        On November 30, 2018, Buyer unilaterally notified WO and the RRC that it would

not acquire the Fee -244- Lease, lease number 10-00106 (“Fee Lease”), and thus the Operator (as

defined in the Amended Term Sheet) would not place the associated wells on its operator’s bonds

with the RRC. If the matter closes, subject to Buyer’s unilateral election. A result of this action is

that WO will continue to own 122 unplugged wells on the Fee Lease, which represent

approximately 13% of WO’s initial 917 wells and reflects an estimated plugging liability of $2.6

million which will not be assumed by Buyer or Operator, as originally agreed. This materially

affects the total compromise and resolution of issues related to the removal of the obligations to

plug and abandon these wells, which were resolved in the APA. In turn, the claim within the RRC’s

Adversary Proceeding (18-01041) seeking for Debtor to plug the inactive wells is no longer moot

as to the 122 wells on the Fee Lease, but remain moot as to the other leases covered in the APA.

       9.        The result of the Buyer’s action is to leave the matters related to the Fee Lease

(involving 122 wells) unresolved. Debtor has conducted a careful review of this matter given the

action taken by Buyer. The action taken puts the transaction of the APA at risk and delayed the

Closing. The financial consideration paid to WO under the APA is not affected, but the estate is

left with a financial exposure of $2.6 million which was to have been assumed by Buyer and/or

Operator. WO has determined that these actions taken by Buyer constitute a breach of the APA

agreement and has exercised its business judgment in determining whether to declare a breach and

recover the $100,000 deposit, or to go forward with the Closing of the APA and affected removal

of the Fee Lease. Given the time committed to reach resolution as represented by the APA and the

regulatory approval, and the fact (i) that the cash consideration of $1 million to be paid is not

reduced and is a significant sum, (ii) that approximately 795 wells will be transferred, (iii) that the
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oil in tank batteries will be sold for WO by Buyer, and (iv) that additional consideration could arise

under the APA for earnout if other leases are operated by Buyer, Debtor has determined that it will

waive the breach by Buyer, at Closing, provided that Buyer does not breach any other provisions

of the APA.

       10.     For the foregoing reasons, WO will waive the breach such that Buyer can close

notwithstanding the fact that Buyer is not assuming the Fee Lease, provided that (i) WO enters

into the Amended Term Sheet with SB Energy and the RRC, a copy of which is appended hereto

as Exhibit “A,” (ii) the Bankruptcy Court approves this Motion, and (iii) Buyer does not commit

another breach of the APA through Closing.

       11.     Further, the RRC suggested, and the Buyer accepted, other material changes to the

Term Sheet, namely provisions stating that (i) if Buyer or its designated operator, Large Operating

LLC, obtains the Fee Lease within five (5) years of closing, Buyer agrees to assume all plugging

and environmental liabilities associated with the Fee Lease; (ii) Buyer will not further amend the

deal; and (iii) will comply with the other terms of the APA.

       12.     Because 122 wells would remain with WO, the RRC cannot dismiss its Adversary

Proceeding, as originally agreed as to the 122 retained by WO. In the event WO cannot find a

buyer for the Fee Lease, WO believes that it is in its best interest that the bankruptcy case be

dismissed after Closing of the APA transaction. The pending litigation in the Adversary action

raises legal issues which are arguably not settled law in the Tenth Circuit and which the RRC has

advised it would be required to litigate. WO will have disposed of most of its assets, and will have

little or no unencumbered assets, and cannot afford the cost of litigation.

       13.     As part of the sale, both the Debtor and representatives of SB Energy negotiated

with the RRC concerning regulatory approval of the sale. As part of these negotiations, the Debtor

and RRC settled and resolved all claims against the other.
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                                         Settlement Terms

       14.     The terms and conditions to which the Debtor and RRC have agreed to settle and

compromise various claims as between the parties, and which approval is being sought by the

Court, are set forth in the Amended Term Sheet attached as Exhibit “A.” The material terms of the

settlement and compromise are as follows:

               (1)     Upon Closing of the APA, WO will be released from liability in connection
                       with all leases transferred to Buyer.

               (2)     The RRC will have an allowed general unsecured claim against the Debtor’s
                       estate in the amount of $10,208.35 for all pre-petition obligations owed to
                       the RRC that are not in the nature of fines and penalties;

               (3)     The RRC will have an allowed unsecured claim against the Debtor’s estate
                       in the amount of $4,130,392 for all pre-petition fines and penalties owed to
                       the RRC, which the RRC will agree to subordinate pursuant to the policy
                       rationale of 11 U.S.C. § 726(a)(4);

               (4)     Within 60 days of Closing, W.O. Operating will dismiss its bankruptcy case
                       unless prior to the dismissal date, Debtor files a §363 motion to sell the Fee
                       Lease. Dismissal will be stayed pending a hearing on a motion to sell the
                       Fee Lease, but should occur no later than May 1, 2019 unless otherwise
                       agreed to in writing. Within five days of the dismissal of the bankruptcy of
                       W.O. Operating, the Railroad Commission shall dismiss the Adversary
                       Proceeding No. 18-1041-M filed against the Debtor by the RRC, without
                       prejudice;

               (5)     Adversary Proceeding No. 18-1041-M filed against Debtor by the RRC will
                       be dismissed in the event WO accomplishes a sale of the Fee Lease, as
                       provided in paragraph 4 above.

                                             Discussion

       15.     Federal Rule of Bankruptcy Procedure 9019 authorizes courts to approve

settlements that affect the bankruptcy estate. The approval or rejection of a settlement is left to the

sound discretion of the court and is determined by the particular facts and circumstances of the

proposed settlement. The phrase “sound discretion” denotes the absence of any hard and fast rule;

indeed, it contemplates a decision giving due regard to what is right and equitable under the

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particular circumstances and applicable law. See generally Protective Committee for Ind.

Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414 (1968).

        16.     Courts have adopted the following criteria to determine the acceptability of a

proposed settlement under Bankruptcy Rule 9019:

                (1)     The balance between the likelihood of success compared to the present and
                        future benefits offered by settlement;

                (2)     The prospect of complex and protracted litigation if settlement is not
                        approved;

                (3)     The expense, inconvenience, and delay necessary in attending the litigation
                        (including the possibility that denial of settlement will cause depletion of
                        assets);

                (4)     The competency and experience of counsel who support settlement;

                (5)     Other factors relevant to a full and fair assessment of the wisdom of the
                        proposed settlement;

                (6)     The extent to which settlement is the product of arms’ length negotiation;
                        and

                (7)     The paramount consideration of creditors and other parties-in-interest,
                        which requires whether the proposed settlement falls below the lowest point
                        in a range of reasonableness.

See generally American Employers’ Ins. Co. v. King Resources Co., 556 F.2d 471 (10th Cir. 1977);

see also In re Kopexa Realty Venture Co., 213 B.R. 1020 (10th Cir. BAP 1997). The Debtor

respectfully submits that the above-referenced settlement and compromise is fair and equitable and

in the best interest of Debtor, its creditors, and parties-in-interest.

        17.     The Debtor submits that the terms of the proposed settlements meet the

requirements established for Rule 9019. The settlement will avoid costly and protracted litigation

and will free funds to pay expenses and creditors, and the agreement of the RRC to permit WO to

sell its assets, is expressly conditioned on these terms and the Amended Term Sheet.



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                        NOTICE OF OPPORTUNITY FOR HEARING

       Your rights may be affected. You should read this document carefully and consult

your attorney about your rights and the effect of this document. If you do not want the Court

to grant the requested relief, or you wish to have your views considered, you must file a written

response or objection to the requested relief with the Clerk of the United States Bankruptcy Court

for the Northern District of Oklahoma, 224 South Boulder, Tulsa, Oklahoma 74103 no later than

24 days from the date of filing of this request for relief. You should also serve a file-stamped copy

of your response or objection on the undersigned movants’ attorneys, and any party who is required

to be served under applicable law, and file a certificate of service with the Court. If no response or

objection is timely filed, the Court may grant the requested relief without a hearing or further

notice. The 24-day period includes the three (3) days allowed for mailing provided for in

Bankruptcy Rule 9006(f).

       WHEREFORE, the Debtor, the RRC, Buyer, and the Operator request that the Court

approve the above-referenced settlement between the parties pursuant to Federal Rule of

Bankruptcy Procedure 9019, that the order be deemed final upon entry, and any other relief that

the Court deems reasonable and just under the facts of this bankruptcy case.

                                                      Respectfully submitted,

                                                      /s/ Chad J. Kutmas
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                              EXHIBIT A
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